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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

                          CASE NO.: 8:21-cv-366-TPB-CPT

ALEXANDER NUNEZ,

          Plaintiff,

v.

HEALTHCARE REVENUE
RECOVERY GROUP, LLC,

      Defendant.
________________________/

                   JOINT NOTICE OF RESOLUTION

      COMES NOW, Plaintiff, Alexander Nunez, and Defendant, Healthcare

Revenue Recovery Group, LLC (collectively the “Parties”), pursuant to Local

Rule 3.09, by and through their undersigned counsel, hereby notify the Court

that they have reached a resolution in the above-captioned matter. The

parties are in the process of finalizing the terms of the Agreement, which will

result in a dismissal with prejudice of all pending claims. The parties

anticipate that resolution and dismissal will be finalized within the next

forty-five (45) days. As such, the parties request the Court to enter an

Administrative Dismissal in this case.

      Dated this 16th day of April 2021.



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                                           Facsimile (407) 622-1884
                                           Attorneys for Defendant,
                                           Healthcare Revenue Recovery
                                           Group, LLC

                     CERTIFICATE OF SERVICE
     I HEREBY CERTIFY that a copy of the foregoing has been

electronically filed on April 16, 2021, via the Clerk of Court’s CM/ECF

system. I further certify that the foregoing has been sent via electronic

transmission   to   the   following:       Jason   R.   Kobal,   Esquire      at

koballaw@yahoo.com (Attorneys for Plaintiff).

                                           /s/ Ernest H. Kohlmyer, III
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